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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:22-CR-00310-JLT-SKO
11
                                    Plaintiff,
12
                             v.
13
     WILLIAM ARTHUR POUSH,                                STIPULATION AND PROTECTIVE ORDER
14   ROSA FERNANDEZ,
     TIMOTHY ROBERT HINGSTON, and
15   DALE VINCENT PEREZ,

16                                 Defendants.

17

18          WHEREAS, the discovery in this case involves information, including documentation,

19 photographs, audio recordings, and video recordings, related to a confidential informant whose safety

20 may be compromised if their identity were disclosed (the “Protected Information”); and

21          WHEREAS, the parties desire to have the Protected Information produced to undersigned

22 defense counsel;

23          The parties agree that entry of a stipulated protective order is appropriate.

24          THEREFORE, William Arthur Poush, Rosa Fernandez, Timothy Robert Hingston, and Dale
                       1
25 Perez (“Defendants”) , by and through their counsel of record, respectively, Eric Kersten, Steven

26 Crawford, Timothy Hennessy, and John Garland (“Defense Counsel”), and the United States of
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            1
28              Defendant Spencer Matthew Hopper has not yet made his initial appearance in this District.


      STIPULATION FOR PROTECTIVE ORDER                    1
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            Case 1:22-cr-00310-JLT-SKO Document 36 Filed 11/28/22 Page 2 of 3

 1 America, by and through Assistant United States Attorney Jessica A. Massey, hereby agree and stipulate

 2 as follows:

 3          1.      This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of

 4 Criminal Procedure, and its general supervisory authority.

 5          2.      This Order pertains to the Protected Information, the Bates numbers pertaining to which

 6 will be specified when produced to Defense Counsel (“the discovery”). This Order also relates to any

 7 verbal communications between the government and Defense Counsel about the confidential informant.

 8 3.       By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 9 documents, recordings, or other information, verbal or written, that contain Protected Information with

10 anyone other than defense investigators and support staff. Defense Counsel may permit Defendants to

11 review un-redacted documents in the presence of their attorney, defense investigators, and support staff.

12 The parties agree that Defense Counsel, defense investigators, and support staff (the “defense team” for

13 each respective defendant) shall not allow Defendants or anyone else outside of the defense team to

14 copy or retain Protected Information contained in the discovery.

15          4.      The discovery and information therein may be used only in connection with the litigation

16 of this case and for no other purpose. The discovery is now and will forever remain the property of the

17 government. Defense Counsel will return the discovery to the government or certify that it has been

18 destroyed at the conclusion of the case.

19          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

20 ensure that it is not disclosed to third persons in violation of this agreement.

21          6.      Defense Counsel shall be responsible for advising Defendant, employees, other members

22 of the defense team, and defense witnesses of the contents of this Stipulation and Order.

23          7.      In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to

24 withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

25 this Order.

26          8. Defense Counsel reserves the right to later seek to have the terms of this Order modified or

27 revoked. Defense Counsel agrees to return the discovery to the Government in its complete form if the

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      STIPULATION FOR PROTECTIVE ORDER                    2
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 1 terms of this Order are modified or revoked if so requested by the United States.

 2          IT IS SO STIPULATED.

 3
            DATED: November 18, 2022                    PHILLIP A. TALBERT
 4                                                      United States Attorney
 5
                                                        By: /s/ Jessica A. Massey
 6                                                      JESSICA A. MASSEY
                                                        Assistant U.S. Attorney
 7

 8
            DATED: November 18, 2022                    By: /s/ Eric Kersten
 9                                                      ERIC KERSTEN
                                                        Attorney for Defendant
10                                                      WILLIAM ARTHUR POUSH

11          DATED: November 18, 2022                    By: /s/ Steven Crawford
                                                        STEVEN CRAWFORD
12
                                                        Attorney for Defendant
13                                                      ROSA FERNANDEZ

14          DATED: November 18, 2022                    By: /s/ Timothy Hennessy
                                                        TIMOTHY HENNESSY
15                                                      Attorney for Defendant
                                                        DALE VINCENT PEREZ
16

17          DATED: November 18, 2022                    By: /s/ John Garland
                                                        JOHN GARLAND
18                                                      Attorney for Defendant
                                                        TIMOTHY ROBERT HINGSTON
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21 IT IS SO ORDERED.

22
        Dated:    November 28, 2022                         /s/
23                                                   UNITED STATES MAGISTRATE JUDGE

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      STIPULATION FOR PROTECTIVE ORDER                 3
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